                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:11-cr-73
 v.                                                    )
                                                       )       COLLIER / LEE
 GUY DYLAN JACKSON                                     )


                                REPORT AND RECOMMENDATION


         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 29, 2012.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the twenty-one-

 count Indictment and entered a plea of guilty to Count One in exchange for the undertakings made

 by the government in the written plea agreement. On the basis of the record made at the hearing,

 I find the defendant is fully capable and competent to enter an informed plea; the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; the plea is made

 voluntarily and free from any force, threats, or promises, apart from the promises in the plea

 agreement; the defendant understands the nature of the charge and penalties provided by law; and

 the plea has a sufficient basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to Count One be accepted, the Court adjudicate

 defendant guilty of Count Out of the Indictment, and a decision on whether to accept the plea

 agreement be deferred until sentencing.          Defendant's bond was revoked and I further

 RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the



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 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.


                                                 s/fâátÇ ^A _xx
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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